     Case 4:20-cv-00335-O Document 84 Filed 10/01/21                       Page 1 of 2 PageID 2583



                        UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF TEXAS - FORT WORTH DIVISION

JOSEPH FRIEDHEIM,                                      §
IASMIN FRIEDHEIM, and                                  §
J.F. SOLUTIONS LTD.,                                   §
      Plaintiffs/Counter-Defendants                    §
v.                                                     §
                                                       §                   Civil Action No. 4:20-cv-335
THOMAS HOEBER, and                                     §
   Defendant/Counter-Plaintiffs                        §
HÖEBER MEDIA, LLC,                                     §
    Defendant/Intervenor                               §

                     PLAINTIFF’S RESPONSE TO DEFENDANTS’ BRIEF
                        IN SUPPORT OF ATTORNEYS’ FEE AWARD


TO THE HONORABLE JUDGE OF THIS COURT:

        NOW COME Joseph Friedheim, Iasmin Friedheim, and JFS Solutions (“JFS”), Plaintiffs

in the above cause, responding to Defendants’ Brief in Support of Attorney’s Fee Award.

        In short, based on the Court's adjudication of the copyright dismissal by Plaintiffs and

subsequent order, Plaintiffs are not opposed to Defendant’s calculation of attorney’s fees

incurred totaling $4,305.50, plus $2,370.00 to prepare their brief in support of attorney’s fees.

        The circumstances regarding this case do not warrant scaling up or using some other

calculation.

                                  I.       Arguments and Authorities

a.      Defendants have not proven a proper calculation under the lodestar method.

1.      Defendants' sworn time and task listing must be considered prime facie evidence of the

reasonable and necessary fees associated with the dismissal. Neither the parties nor the Court

needs to wonder what the fees associated with these tasks would be, because the actual amounts

have been provided.



4:20-cv-335 Plaintiffs’ Response to Defendant’s Brief in Support of Attorneys’ Fee Award           Page 1
     Case 4:20-cv-00335-O Document 84 Filed 10/01/21                       Page 2 of 2 PageID 2584



2.      Industry estimates and averages for various legal tasks should be used to embellish and

award fees that are actually higher than a straightforward lodestar calculation.

3.      Additionally, even if the rates of intellectual attorneys are used, Defendants have

provided no support that the market rates cited in their brief are comparable to those in the

community—the Dallas area. Attorney awards under the lodestar method must be calculated

using the market rate for the relevant community. Here, although Defendants cite to a report on

the market rates for intellectual property attorneys, Defendants offer not proof of the market rate

in Dallas, where Defendants’ attorneys are located.

4.      Lastly, though Defendants may wish to crow about their success in dismissing Plaintiffs'

copyright claim, the Court can examine the documents and see that the claim was dismissed only

after discovery was performed that found Hoeber was only using the copyrighted works for

litigation purposes and not using it to actually make money, reducing the value of the claim

below the value of its litigation.

                                            II.      Conclusion

5.      Therefore, although Plaintiffs do not oppose Defendant’s calculation of its attorney’s fees

totaling $4,305.50 and $2,370.00 to prepare their brief in support of attorney’s fees, the Court

should not consider Defendant’s higher request.

                Respectfully submitted,

                /s/ Warren V. Norred
                Warren V. Norred, Texas Bar No. 24045094, wnorred@norredlaw.com
                515 E. Border Street; Arlington, Texas 76010
                Tel. (817) 704-3984; Fax. (817) 524-6686
                Attorney for Plaintiffs

CERTIFICATE OF SERVICE - I certify that this document was served on all parties seeking
service in the instant case via the Court’s e-file system on October 1, 2021.
                                                /s/ Warren V. Norred
                                                Warren V. Norred


4:20-cv-335 Plaintiffs’ Response to Defendant’s Brief in Support of Attorneys’ Fee Award       Page 2
